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Policemen’s Benevolent Association Mainland Local 77 (pleaded as
“Mainland Local PBA 77”)

                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY
___________________________________
CHRISTOPHER LEARY,                  : CIVIL ACTION NO.
                                    : 1:23-cv-04070-JHR-SAK
          Plaintiff,                :
                                    :
          vs.                       :
                                    :
EGG HARBOR TOWNSHIP POLICE          :
DEPARTMENT, THE TOWNSHIP OF EGG     : NOTICE OF MOTION
HARBOR, MAINLAND LOCAL PBA #77,     : TO DISMISS PLAINTIFF’S
NEW JERSEY STATE ASSOCIATION OF     : COMPLAINT IN LIEU OF
CHIEFS OF POLICE, STATE OF NEW      : ANSWER PURSUANT TO
JERSEY, MICHAEL HUGHES,             : F.R.C.P. 12(b)(6)
individually and acting under       :
color of law, WILLIAM NALLY,        :
individually and acting under       :
color of law, JEFFREY LANCASTER,    :
individually and acting under       : Oral Argument Requested
color of law, REYNOLD THERIAULT     :
individually and acting under       :
color of law, DONNA L MARKULIC,     :
individually and acting under       :
color of law, JOHN and JANE         :
DOES 1-10, ABC CORPORATIONS,        :
and XYZ STATE ENTITIES.             :
                                    :
          Defendants.               :
__________________________________ :

TO:   Phyllis Widman, Esq.
      Widman Law Firm, LLC
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      Linwood, New Jersey 08221
      Attorney for Plaintiff
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     PLEASE TAKE NOTICE that Defendants Jeffrey Lancaster, Reynold

Theriault, & Policemen’s Benevolent Association Mainland Local 77

(pleaded as “Mainland Local PBA 77”) (collectively, “Defendants”),

pursuant to Rule of Civil Procedure 12(b)(6) moves herein for an

Order from the Court dismissing Plaintiff’s Complaint in lieu of

an answer for failure to state a claim upon which relief can be

granted.

     PLEASE TAKE FURTHER NOTICE that Defendant shall rely upon the

Brief and Certification of Counsel with exhibits filed herewith.

     PLEASE TAKE FURTHER NOTICE that pursuant to Local Civil Rule

78.1, Defendants respectfully request oral argument.

                             Respectfully submitted,
                             Sciarra & Catrambone, LLC
                             Attorneys for Defendants Mainland
                             Local PBA #77, Lancaster &
                             Theriault
                       By:   /s/ Jeffrey D. Catrambone (JC 2870)

Dated: October 5, 2023




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